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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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MICHAEL W. McDEVITT,

                                   Plaintiff,                        ORDER

                - against -
                                                               CV 16-4164 (JFB) (AKT)
SUFFOLK COUNTY, SUFFOLK COUNTY
POLICE DEPARTMENT, GLENN
TORQUINIO, and SUFFOLK COUNTY
POLICE OFFICERS JOHN and
JANE DOES #1-10,

                                    Defendants.
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A. KATHLEEN TOMLINSON, Magistrate Judge:
        Plaintiff’s counsel, Corey H. Morris, Esq., is hereby authorized to bring the equipment

listed below into the United States Federal Courthouse for the Eastern District of New York,

100 Federal Plaza, Central Islip, NY, on July 31, 2018 in complete the Court-ordered deposition

of non-party witness Wayne Schneider which is scheduled to begin at 10 a.m. By bringing

equipment into the Courthouse, Plaintiff certifies that the electronic equipment will be used

solely in connection with the scheduled deposition.

Equipment:

1. Sony HD Handycam (camcorder);
2. Tripod; and
3. Charging devices.


                                                              SO ORDERED.

Dated: Central Islip, New York
       July 27, 2018

                                                              /s/ A. Kathleen Tomlinson
                                                              A. KATHLEEN TOMLINSON
                                                              U.S. Magistrate Judge
